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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         District District
                                                     __________   of New ofMexico
                                                                            __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.   24-MR-318
 ROOM 126, TOWNEPLACE SUITES BY MARRIOTT                                     )
ALBUQUERQUE OLD TOWN, 2510 12TH STREET NW,                                   )
          ALBUQUERQUE, NM 87104                                              )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A, incorporated herein by reference.

located in the                                    District of               New Mexico                  , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B, incorporated herein by reference.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               
               u evidence of a crime;
               
               u contraband, fruits of crime, or other items illegally possessed;
                 
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. 841(a)(1), 846                  Possession with intent to distribute methamphetamine; conspiracy
        18 U.S.C. 2                               Aiding and abetting


          The application is based on these facts:
        See attached affidavit, incorporated by reference herein.


          
          u Continued on the attached sheet.
           u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.   et.


                                                                                                       Applicant’s
                                                                                                       A
                                                                                                       Ap p icant’s ssignature
                                                                                                          pl          ignatu
                                                                                                                      ig  t re

                                                                                               Chandler Rule, DEA Special Agent
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
   telephonically sworn and electronically signed     (specify reliable electronic means).


Date:      February 17, 2024
                                                                                                         Judge’s signature

City and state: Albuquerque, New Mexico                                              The Hon. Laura Fashing, U.S. Magistrate Judge
                                                                                                       Printed name and title
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

IN THE MATTER OF THE SEARCH OF:
ROOM 126, TOWNEPLACE SUITES BY
MARRIOTT ALBUQUERQUE OLD TOWN,                       Case No. ____________________
2510 12TH STREET NW, ALBUQUERQUE,
NM 87104

                             AFFIDAVIT IN SUPPORT OF AN
                           APPLICATION UNDER RULE 41 FOR A
                            WARRANT TO SEARCH AND SEIZE

      I, Chandler Rule, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

      1.        I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a warrant to search the premises known as Room 126 at TownePlace

Suites by Marriott Albuquerque Old Town, 2510 12th St NW, Albuquerque, NM 87104,

hereinafter “PREMISES,” further described in Attachment A, for the things described in

Attachment B.


       1.       I am a “federal law enforcement officer” within the meaning of Federal Rule of

Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the criminal

laws and duly authorized by the Attorney General to request a search warrant. I have been

employed as a Special Agent with the Drug Enforcement Administration (DEA) (the

“Investigative Agency”) since December 2021. Prior to becoming a Special Agent with DEA, I

was employed as a Trooper with the Kansas Highway Patrol from 2016 to 2021. During my

career as a law enforcement officer and narcotics agent, I have conducted and assisted with
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numerous criminal investigations concerning violations of the Controlled Substances Act, and

have received ongoing training in conducting such investigations.

       2.       My experience as a narcotics agent includes, but is not limited to: conducting

physical surveillance, interviewing witnesses, writing affidavits for and executing search

warrants, working with undercover agents and informants, issuance of administrative and federal

grand jury subpoenas, analysis of phone toll and financial records, and analysis of data derived

from the use of pen registers and trap and traces.

       3.       I have been involved in an ongoing investigation regarding the distribution of

controlled substances in violation of 21 U.S.C. §§ 841(a)(1) and 846, specifically

methamphetamine, in and around Clovis, New Mexico. I, as well as other Special Agents and

Task Force Officers with the DEA, and law enforcement officials from other agencies have

obtained information regarding the illegal drug trafficking activities of Michael Prince and others

(the “SUBJECTS”).

       4.       I make this affidavit based upon my own personal knowledge, which is

substantially derived from my participation in the investigation, as well as that of fellow agents

and officers who have participated in the investigation. In addition, I have developed information

I believe to be reliable from additional sources including:

               a.    Information provided by Task Force Officers (“TFO”), Special Agents

                      (“SA”), and Intelligence Research Specialists (IRS) of the DEA, and other

                      law enforcement officials (“agents”), including oral and written reports that



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                       I have received directly or indirectly from said investigators;

               b.      Results of physical surveillance conducted by agents during the

                       investigation;

               c.      A review of telephone toll records and subscriber information;

               d.      Information derived from consensually recorded conversations;

               e.      Information derived from lawfully intercepted telephone conversations and

                       text messages;

               f.      A review of driver’s license and automobile registration records;

               g.      Records from commercial databases; and

               h.      Records from the National Crime Information Center (“NCIC”).

       5.       This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

                    FEDERAL CHARGES RELEVANT TO THIS INVESTIGATION

       6.       I believe there is probable cause that the SUBJECTS have committed, are

committing, and will continue to commit offenses involving violations of:

               a.      21 U.S.C. § 841 – Distribution and possession with intent to distribute
                       controlled substances;

               b.      21 U.S.C. § 846 – Conspiracy to distribute and possess with intent to
                       distribute controlled substances; and

               c.      18 U.S.C. § 2 – Aiding and abetting.




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                             EVIDENCE SOUGHT DURING SEARCH

       7.       Based on my training, experience and participation in this and in similar

investigations, I believe that individuals involved in illegal trafficking of controlled substances

often conceal evidence of their drug trafficking activities in their hotel and motel rooms, and in

surrounding areas to which they have ready access such as garages, carports and outbuildings.

They also conceal evidence in vehicles, including vehicles outside of their hotel/motel rooms, so

so that they have ready access to it and so that they can hide it from law enforcement, including

law enforcement officers executing search warrants. This evidence, which is discussed in detail

in the following paragraphs, includes controlled substances, paraphernalia for weighing,

packaging and distributing controlled substances, other contraband, records, documents, as well

as evidence of drug transactions, proceeds from drug sales, and valuables obtained from proceeds.

       8.       Individuals involved in illegal drug trafficking of controlled substances often keep

quantities of controlled substances on their person, in their hotel/motel rooms, in their vehicles,

in off-site storage facilities, and in other areas to which they have ready access.

       9.       Individuals involved in drug dealing commonly use certain paraphernalia to

package and prepare controlled substances for distribution. The paraphernalia includes, but is not

limited to, packaging materials (such as plastic baggies, wrapping paper, cellophane, condoms,

and film canisters) and scales to weigh controlled substances. Drug dealers commonly store these

items on their person, in their hotel/motel rooms, in their vehicles, and in other areas to which

they have ready access.



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        10.     Drug traffickers often maintain records of their transactions in a manner similar to

the record keeping procedures of legitimate businesses.            Even after the drugs are sold,

documentary records are often maintained for long periods of time, even years, to memorialize

past transactions, the status of accounts receivable and accounts payable, and the names and

telephone numbers of suppliers, customers and co-conspirators.              These records may be

maintained on paper, in the form of business and personal ledgers and diaries, calendars,

memoranda, pay/owe sheets, IOUs, miscellaneous notes, money orders, customer lists, and

telephone address books. These records can reflect names, addresses and/or telephone numbers

of associates and co-conspirators, the sale and purchase of controlled substances including

precursors, customer lists, and amounts of money owed to the trafficker by customers and by the

trafficker to his/her suppliers.

        11.     Drug traffickers often travel domestically and internationally to facilitate their

trafficking. Evidence of foreign and domestic travel by persons engaged in illegal drug trafficking

includes travel itineraries, airline tickets, receipts, passports, and visas. These items are stored by

drug dealers on their person or in their hotel/motel rooms and surrounding garages, and in cars.

Many of these items are accessible via the internet and can be downloaded and saved on the

computer or other digital media and on storage media.

        12.     Other evidence of transportation, ordering, possession and sale of drugs can

include the following: telephone bills to show numbers called by the drug dealers (and hence

potential associates), overnight mail receipts, bank statements, deposit and withdrawal slips,



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savings books, investment statements, loan statements, other financial institution statements, and

federal and state tax returns. The above items are stored by drug dealers on their person or in

their hotel/motel rooms. This type of documentation can be stored on digital media and concealed

virtually anywhere.

       13.     Drug traffickers usually sell their product for cash. Because large quantities of

drugs can sell for thousands of dollars at the wholesale level, dealers may have thousands of

dollars in cash on hand both as proceeds of sales and to purchase supplies/inventory. In addition,

drug dealers often have other assets generated by their drug business, or purchased with cash

earned, such as precious metals and stones, jewelry, real estate, vehicles, and other valuables.

       14.     Individuals involved in drug dealing often try to legitimize these profits from the

sale of drugs. To accomplish this goal, drug traffickers may utilize foreign and/or domestic

banking institutions and their attendant services, real estate and businesses, both real and

fictitious. They also try to secret, transfer and conceal the money by (a) placing assets in names

other than their own to avoid detection while maintaining control, (b) laundering money through

what appears to be a legitimate business or businesses, (c) hiding the money in their homes, safes

and safety deposit boxes, and/or (d) using the money to buy assets which are difficult to trace.

This evidence is useful in a criminal prosecution, and it also is useful in identifying real and

personal property that can be seized and forfeited by the government under existing laws.

Documentation concerning this type of activity can be stored on digital media and concealed

virtually anywhere.



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       15.     Evidence of significant, unexplained income of drug dealers, or for the acquisition

and concealment of money and assets of drug sales, can be found on banking and investment

account statements, credit card account statements, canceled checks, money orders, deposit slips,

check and savings books, business and personal ledgers, accounting records, safe deposit box

records and keys, federal and state tax records, rental receipts, rental agreements, utility bills,

overnight mail receipts, telephone bills, loan statements records reflecting ownership of real or

personal property (such as deeds of trust or vehicle registration, insurance, and ownership

information), vehicle and property rental records, lease and purchase agreements, and canceled

mail. These records can be maintained on paper, but also can be maintained as electronic data on

computers and other digital media. The above items are typically kept by drug dealers on their

person or in their businesses, residences and surrounding garages, outbuildings, carports, and

yards, the residences of friends or relatives, and vehicles. If drug dealers are traveling, they may

keep such items in their hotel/motel rooms as well as their vehicles.

       16.     The use of digital media, including smartphones, tablets, cellular phones, and

digital devices, has become part of everyday life. This is also true for drug traffickers. Information

stored in electronic form on all of the above-devices can provide evidence of drug trafficking.

Drug traffickers frequently use some or all of these devices to communicate with co-conspirators,

customers, sources of supply, and others involved in the drug trade. These communications

include, but are not limited to, phone calls, text messages, SMS (Short Message Service)

messaging, MMS (Multimedia Messaging Service) messaging, social media posts and messaging,



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and smartphone application messaging services. Smartphones, tablets, cellular phones, and digital

devices are frequently capable of storing messages, emails, social media communications, and

communications made over smartphone applications. The content of these communications will

often provide evidence of drug trafficking. Numbers stored on a telephone (such as Caller ID lists

reflecting recently received calls, speed dial lists of names and/or telephone numbers, and logs of

outgoing and incoming calls) can provide evidence of who the drug dealer is calling, and thus the

identity of potential associates.

       17.     Drug traffickers often take, or cause to be taken, photographs and/or videos of

themselves, their associates, their property and their drugs.        They often maintain these

photographs and/or videos on their person or in their hotel/motel rooms, cars, or on computers.

Smartphones, tablets, cellular phones, digital cameras, and other digital devices, often have the

capability to take still photos and videos and save them indefinitely on the device’s storage

medium. Drug traffickers frequently use these devices to take their photographs and videos.

       18.     Drug traffickers often maintain firearms and ammunition on their person, in their

hotel/motel rooms, or in their cars to protect themselves and their drugs and their drug profits.

They also may maintain indicia of firearms such as receipts for firearms and ammunition, boxes

for firearms and ammunition, firearms cleaning supplies, and instruction manuals and other

documentation for firearms and ammunition.




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       19.     I know that weapons (including rifles, shotguns, and handguns) are tools of the

trade for drug traffickers, who often keep firearms in close proximity to themselves, and their

product and proceeds, to protect them from other drug traffickers and law enforcement.

       20.     Drug traffickers often conceal evidence of drug dealing in vehicles outside of their

hotel/motel rooms for ready access and to prevent detection and seizure by officers executing

search warrants. This evidence, which is discussed in detail in the preceding paragraphs, includes

controlled substances, indicia such as packing documents and electronic storage devices (and their

contents,) evidence tending to show the distribution of drugs (such as IOUs, pay-owe sheets,

ledgers, lists of names and numbers, telephone address books, etc.), digital devices such as

cellular/mobile/smart telephones and tablets (and their contents), and counter-surveillance

devices.

       21.     Documents showing who owns, occupies, or controls the location being searched

also show who is responsible for the items found on the premises, including contraband and other

evidence seized. Documents and items showing the identity of the persons owning, residing in

or controlling the area being searched include, but are not limited to, keys, invoices, and

reservation confirmation emails.     These documents may also be produced on computers,

downloaded from online accounts or scanned into digital format and stored on computers and

related digital media.

       22.     The term “computer” includes all types of electronic, magnetic, optical,

electrochemical, or other high speed data processing devices performing logical, arithmetic, or



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storage functions, including desktop computers, notebook computers, mobile phones,

smartphones, tablets, server computers, and network hardware. The term “digital media” includes

personal digital assistants (PDAs), smartphones, tablets, BlackBerry devices, iPhones, iPods,

iPads, digital cameras, and cellular telephones. The term “storage media” includes any physical

object upon which electronic data can be recorded, such as hard disks, RAM, floppy disks, flash

memory, CD-ROMs, and other magnetic or optical media or digital medium. Collectively, the

terms “computer,” “digital media,” and “storage media” are referred to as “electronic media.”

       23.     A list of items agents seek authority to seize is in Attachment B.

                  ELECTRONIC MEDIA AND FORENSIC ANALYSIS
       24.     As described above and in Attachment B, this application seeks permission to

search for evidence and records that might be found on the PREMISES, in whatever form they

are found. Much of the evidence and records described in the paragraphs above, and in

Attachment B, can also be produced and/or stored on electronic media. For this reason, I submit

that if a computer, digital medium, or storage medium is found on the PREMISES, there is

probable cause to believe those records will be stored on that computer, digital medium, or storage

medium. Thus, the warrant applied for would authorize the seizure of electronic media or,

potentially, the copying of electronically stored information, all under Rule 41(e)(2)(B).

       25.     Necessity of seizing or copying entire electronic media. In most cases, a thorough

search of a premises for information that might be stored on electronic media often requires the

seizure of the physical electronic media and later off-site review consistent with the warrant. In




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lieu of removing electronic media from the premises, it is sometimes possible to make an image

copy of electronic media. Generally speaking, imaging is the taking of a complete electronic

picture of the computer’s data, including all hidden sectors and deleted files. Either seizure or

imaging is often necessary to ensure the accuracy and completeness of data recorded on the

electronic media, and to prevent the loss of the data either from accidental or intentional

destruction. This is true because of the following:

          a. The time required for an examination. As noted above, not all evidence takes the

              form of documents and files that can be easily viewed on site. Analyzing evidence

              of how a computer has been used, what it has been used for, and who has used it

              requires considerable time, and taking that much time on premises could be

              unreasonable. Electronic media can store a large volume of information.

              Reviewing that information for things described in the warrant can take weeks or

              months, depending on the volume of data stored, and would be impractical and

              invasive to attempt on-site.


          b. Technical requirements. Computers can be configured in several different ways,

              featuring a variety of different operating systems, application software, and

              configurations. Therefore, searching them sometimes requires tools or knowledge

              that might not be present on the search site. The vast array of computer hardware

              and software available makes it difficult to know before a search what tools or

              knowledge will be required to analyze the system and its data on the Premises.



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              However, taking the electronic media off-site and reviewing it in a controlled

              environment will allow its examination with the proper tools and knowledge.

          c. Variety of forms of electronic media. Records sought under this warrant could be

              stored in a variety of electronic media formats that may require off-site reviewing

              with specialized forensic tools.

       26.     Nature of examination.      Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

electronic media that reasonably appear to contain some or all of the evidence described in the

warrant, and would authorize a later review of the media or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-assisted

scans of the computer or entire medium, that might expose many parts of a hard drive to human

inspection in order to determine whether it is evidence described by the warrant.

       27.     The warrant I am applying for would permit law enforcement to obtain from

certain individuals the display of physical biometric characteristics (such as fingerprint,

thumbprint, or facial characteristics) in order to unlock devices subject to search and seizure

pursuant to this warrant. I seek this authority based on the following:

          a. I know from my training and experience, as well as from information found in

              publicly available materials published by device manufacturers, that many

              electronic devices, particularly newer mobile devices and laptops, offer their users

              the ability to unlock the device through biometric features in lieu of a numeric or



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    alphanumeric passcode or password. These biometric features include fingerprint

    scanners and facial recognition features. Some devices offer a combination of these

    biometric features, and the user of such devices can select which features they

    would like to utilize.

 b. If a device is equipped with a fingerprint scanner, a user may enable the ability to

    unlock the device through his or her fingerprints. For example, Apple offers a

    feature called “Touch ID,” which allows a user to register up to five fingerprints

    that can unlock a device. Once a fingerprint is registered, a user can unlock the

    device by pressing the relevant finger to the device’s Touch ID sensor, which is

    found in the round button (often referred to as the “home” button) located at the

    bottom center of the front of the device. The fingerprint sensors found on devices

    produced by other manufacturers have different names but operate similarly to

    Touch ID.

 c. If a device is equipped with a facial recognition feature, a user may enable the

    ability to unlock the device through his or her face. For example, Apple offers a

    facial recognition feature called “Face ID.” During the Face ID registration

    process, the user holds the device in front of his or her face. The device’s camera

    then analyzes and records data based on the user’s facial characteristics. The device

    can then be unlocked if the camera detects a face with characteristics that match




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    those of the registered face. Facial recognition features found on devices produced

    by other manufacturers have different names but operate similarly to Face ID.

 d. In my training and experience, users of electronic devices often enable the

    aforementioned biometric features because they are considered to be a more

    convenient way to unlock a device than by entering a numeric or alphanumeric

    passcode or password. Moreover, in some instances, biometric features are

    considered to be a more secure way to protect a device’s contents. This is

    particularly true when the users of a device are engaged in criminal activities and

    thus have a heightened concern about securing the contents of a device.

 e. As discussed in this affidavit, based on my training and experience I believe that

    one or more digital devices will be found during the search. The passcode or

    password that would unlock the device(s) subject to search under this warrant is not

    known to law enforcement. Thus, law enforcement personnel may not otherwise be

    able to access the data contained within the device(s), making the use of biometric

    features necessary to the execution of the search authorized by this warrant.

 f. I also know from my training and experience, as well as from information found in

    publicly available materials including those published by device manufacturers,

    that biometric features will not unlock a device in some circumstances even if such

    features are enabled. This can occur when a device has been restarted, inactive, or

    has not been unlocked for a certain period of time. For example, Apple devices



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    cannot be unlocked using Touch ID when (1) more than 48 hours has elapsed since

    the device was last unlocked or (2) when the device has not been unlocked using a

    fingerprint for 4 hours and the passcode or password has not been entered in the

    last 156 hours. Biometric features from other brands carry similar restrictions.

    Thus, in the event law enforcement personnel encounter a locked device equipped

    with biometric features, the opportunity to unlock the device through a biometric

    feature may exist for only a short time.

 g. In my training and experience, the person who is in possession of a device or has

    the device among his or her belongings at the time the device is found is likely a

    user of the device. However, in my training and experience, that person may not be

    the only user of the device whose physical characteristics are among those that will

    unlock the device via biometric features, and it is also possible that the person in

    whose possession the device is found is not actually a user of that device at all.

    Furthermore, in my training and experience, I know that in some cases it may not

    be possible to know with certainty who is the user of a given device, such as if the

    device is found in a common area of a premises without any identifying information

    on the exterior of the device. Thus, it will likely be necessary for law enforcement

    to have the ability to require any individual, who is found at the PREMISES and

    reasonably believed by law enforcement to be a user of the device, to unlock the

    device using biometric features in the same manner as discussed above.



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          h. Due to the foregoing, if law enforcement personnel encounter a device that is

             subject to search and seizure pursuant to this warrant and may be unlocked using

             one of the aforementioned biometric features, the warrant I am applying for would

             permit law enforcement personnel to (1) press or swipe the fingers (including

             thumbs) of any individual, who is found at the PREMISES and reasonably believed

             by law enforcement to be a user of the device, to the fingerprint scanner of the

             device; (2) hold the device in front of the face of those same individuals and activate

             the facial recognition feature, for the purpose of attempting to unlock the device in

             order to search its contents as authorized by this warrant.

                                    PROBABLE CAUSE


       28.    The Drug Enforcement Administration (“DEA”), along with Homeland Security

Investigations (“HSI”), the Region Five Drug Task Force (“RFDTF”), and other federal, state,

and local law enforcement agencies are investigating a drug trafficking organization (“DTO”)

operating out of New Mexico, Texas, Arizona, and Mexico.

       29.    This DTO is led by Francisco Badillo-Montano (“F. Badillo-Montano”). This

affidavit refers to his organization as the Badillo-Montano DTO. Agents believe F. Badillo-

Montano is residing in Culiacan, Sinaloa, Mexico.

       30.    Agents know F. Badillo-Montano frequently requests co-conspirators to send

money to couriers driving shipment of drugs from Arizona to Clovis, New Mexico, and the

surrounding area. Agents also know F. Badillo-Montano utilizes couriers from Phoenix, Arizona,



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and the Clovis, New Mexico area. These couriers often stop in Albuquerque on their way from

Phoenix to Clovis.

       31.      Agents identified Rebecca Chavez as a co-conspirator working within the Badillo-

Montano DTO and distributing methamphetamine in Portales, New Mexico. On December 5,

2023, a federal grand jury issued indictments against Chavez, and others, for violations of the

Target Offenses.

       32.      On December 13, 2023, Chavez was arrested in Portales, New Mexico. Chavez

granted agents consent to search her cell phone.

       33.      During a search of Chavez’s cell phone, agents observed multiple conversations

between Chavez and F. Badillo-Montano regarding drug trafficking activities. F. Badillo-Montano

appeared to use a WhatsApp account associated to telephone number 52-662-171-9734.

       34.      On November 10, 2023, F. Badillo-Montano asked, “How much you sending 200.

I’m about to get the cash app now.” F. Badillo-Montano and Chavez then had a two-minute call

via WhatsApp. Chavez then sent F. Badillo-Montano a screen shot of a Cash App transfer of $200

to “Maricruz,” with a Cash App tag of “$bigsexymgl.” The Cash App transfer displayed a profile

picture with a Hispanic female.

       35.      I believe, based on my training and experience, that when F. Badillo-Montano

asked, “How much you sending 200. I’m about to get the cash app now,” F. Badillo-Montano was

asking how much money Chavez was going to send to pay a courier delivering drugs. I also believe

that F. Badillo-Montano was telling Chavez that he was going to get the Cash App account of the



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courier transporting the drugs. When Chavez sent a screen shot of a Cash App transfer of $200 to

“Maricruz,” I believe that Chavez was telling F. Badillo-Montano that she had sent money to the

courier via Cash App.

       36.      On November 14, 2023, F. Badillo-Montano told Chavez that the driver broke

down and needed money. F. Badillo-Montano then sent the Cash App account of “$bigsexymgl.”

On the same day, Chavez sent F. Badillo-Montano a screen shot of a Cash App transfer of $220.00

to “Maricruz” with a Cash App tag of “$bigsexymgl,” displaying the same profile picture of the

Hispanic female.

       37.      I believe that, during this conversation, F. Badillo-Montano was telling Chavez

that a courier was transporting drugs and that the courier’s vehicle had broken down. I also believe

that F. Badillo-Montano was telling Chavez that the courier needed additional money. When F.

Badillo-Montano sent the Cash App account of “$bigsexymgl,” I believe F. Badillo-Montano was

stating that the user of “bigsexymgl” was the courier transporting the drugs. When Chavez sent

the screen shot of a Cash App transfer of $220.00 to “Maricruz,” I believe that Chavez was

indicating to F. Badillo-Montano that she sent the courier money.

       38.      On November 22, 2023, Chavez sent F. Badillo-Montano another screen shot of a

Cash App transfer of $325.00 to “Maricruz” with a Cash App account of “$bigsexymgl,”

displaying the same profile picture of the Hispanic female.

       39.      On December 27, 2023, agents conducted an open-public search of Cash App for

“$bigsexymgl.” The search indicated the account was no longer active.



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       40.       On December 27, 2023, agents conducted an open-public search of Facebook and

located “Maricruz Gavaldon,” of Clovis, New Mexico. The Cash App profile picture of

“$bigsexymgl” and the Facebook profile picture of “Maricruz Gavaldon” were not identical, but

both pictures depicted the same Hispanic female.

       41.       On the same day, agents queried the New Mexico Department of Motor Vehicles

(DMV) and located a New Mexico driver’s license of Maricruz Gavaldon of Clovis, New Mexico.

Gavaldon’s driver’s license displayed the same Hispanic female as the Cash App account of

“$bigsexymgl.”

       42.       Also on December 27, 2023, agents utilized a law enforcement financial database

and learned that Maricruz Gavaldon sent $950 through a wire transfer to a subject in Culiacan,

Sinaloa, Mexico. Gavaldon was in Phoenix, Arizona, when she sent the money. Gavaldon’s

number was listed as 575-910-9435 in the wire transfers.

       43.       An administrative subpoena was issued to AT&T regarding 575-910-9435.

According to AT&T, 575-910-9435 is subscribed to Maricruz Gavaldon of Clovis, New Mexico.

       44.       On January 19, 2024, agents submitted a geo-location search warrant for Target

Telephone. The search warrant was signed by the Honorable Karen B. Molzen, in the District of

New Mexico. The court order expires on February 18, 2024. On February 16, 2024, the Court

issued a renewed warrant authorizing agents to continue to collect location data for Gavaldon.




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       45.      The GPS data obtained by the search warrant has been proven valuable as agents

have been able to conduct surveillance, identify Gavaldon’s residence, and track Gavaldon’s

activities as she prepared and traveled to Phoenix, Arizona.

       46.      On February 13, 2024, an analysis of Badillo-Montano’s tolls indicated an increase

in communication between Gavaldon and Badillo-Montano.

       47.      On February 13, 2024, a DEA undercover agent (the “UC”) communicated

telephonically with Badillo-Montano. Badillo-Montano told the UC that a female courier would

bringing a shipment of drugs from Phoenix, Arizona to Clovis, New Mexico.

       48.      On February 15, 2024, the GPS data indicated that Gavaldon had traveled to

Phoenix, Arizona, and is staying in an area that agents have seen multiple co-conspirators stay

while waiting for drugs to be delivered.

       49.      On February 16, 2024, at approximately 11:00 PM, indicated that Gavaldon left

Phoenix, Arizona and began traveling eastbound. SA Rule knows it is common for drug traffickers

to travel late at night to avoid interacting with law enforcement.

       50.      On February 17, 2024, at approximately 8:02 AM, GPS location data indicated

that Gavaldon was in the area of the Townplace Marriott Hotel, 2510 12th St NW, Albuquerque,

NM 87104. GPS location data indicated she was at the hotel for approximately thirty minutes.

GPS location data then indicated she began traveling through Albuquerque.

       51.      DEA agents located Gavaldon, driving a Honda sedan bearing New Mexico

registration (RGS860), in the same area as the GPS location data. Agents then followed Gavaldon



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as she traveled to the Townplace Marriott hotel at 2510 12th St NW, Albuquerque, NM 87104.

Agents observed Gavaldon and a male, later identified as Brayden Maes, of Clovis, New Mexico,

exit the Gavaldon’s vehicle and enter the hotel carrying multiple bags.

       52.      After several minutes, agents observed Maes and Gavaldon leave the hotel. Agents

followed both subjects to an apartment complex in Albuquerque, NM. Both subjects were only at

the apartment for a few minutes before leaving the apartment complex. Although agents did not

observe either subject meeting with a third party, I believe, based on my training and experience,

that this sort of short visit is common among those delivering drugs. Agents then followed Maes

and Gavaldon to the same hotel.

       53.      Agents served the Townsplace Marriot Hotel an administrative subpoena. Agents

learned Brayden Maes rented room 126 on February 17, 2024, at approximately 8:07 AM, and is

due to check out on February 18, 2024.

       54.      Based on the facts referenced above, I believe that Gavaldon and Maes are

concealing controlled substances inside room 126 and within the Honda sedan.

                                  [Continued on Following Page]




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                                      CONCLUSION


      55.     I submit that this affidavit supports probable cause for a warrant to search the

PREMISES described in Attachment A and seize the items described in Attachment B.

                                                  Respectfully
                                                  Respectfful   submitted,
                                                           u ly subm



                                                  Chandler Rule
                                                  Special Agent
                                                  Drug Enforcement Administration


      Electronically signed and telephonically sworn
      on February 17, 2024:

      _________________________________________
      THE HON. LAURA FASHING
      UNITED STATES MAGISTRATE JUDGE




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                                       ATTACHMENT A

                                      Property to be searched


       The property to be searched is Room 126 at TownePlace Suites by Marriott Albuquerque

Old Town, 2510 12th St NW, Albuquerque, NM 87104, hereinafter “PREMISES,” further

described as a room within a hotel complex.

       The search of the above PREMISES shall include the search of the entire room, and all

persons located on the PREMISES on which the items to be seized could be concealed.

       The search of the above PREMISES shall also include all vehicles parked in, at, behind, or

in front of the Marriott hotel; or in the parking lot located to the West across Eagle Way, that have

an apparent connection to the PREMISES and/or the SUBJECTS. Connection to the vehicle may

be established by evidence that anyone residing at the PREMISES and/or the SUBJECTS own,

operate, and/or have access to any vehicle parked in these locations. Evidence includes prior law

enforcement observation, vehicle registration, subject admission, or possession of an ignition key.
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                                      ATTACHMENT B

                                      Property to be seized


       All records, information, and evidence relating to violations of 21 U.S.C. §§ 841(a)(1)

and 846, those violations involving Maricruz Gavaldon and Brayden Maes and occurring after

January 1, 2021, including:


       1. Controlled substances, including, but not limited to, methamphetamine, heroin,

           cocaine, and marijuana.

       2. Drug paraphernalia, including but not limited to, scales, packaging materials, items for

           packaging and handling drugs.

       3. Large amounts of currency, financial instruments, precious metals, jewelry and other

           items of value and/or proceeds of drug transactions.

       4. Any and all drug customer lists, drug records, dealers lists, or any notes containing the

           individual names of such persons, telephone numbers, addresses of these customers or

           dealers, and any corresponding records of accounts receivable, money paid or received,

           drugs supplied or received, or cash received to pay for controlled substances or

           intended to pay for controlled substances.

       5. Telephone and address books or notes containing telephone numbers and addresses of

           co-conspirators.

       6. Telephone toll records for homes and/or businesses owned or controlled by suspected

           co-conspirators, or other communication devices used by them and/or their drug

           trafficking associates.
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7. Messages, notes, correspondence, and/or communications between drug trafficking

   associates.

8. Indications of ownership or control of said premises and/or other premises used in

   unlawful drug trafficking activity, including but not limited to, keys, invoices, and

   reservation confirmation emails.

9. Indications of ownership or control over any vehicles located at the place to be

   searched, including but not limited to, titles, registrations, gas receipts, repair bills and

   keys belonging to that vehicle.

10. Records, receipts, bank statements and records, money drafts, letters of credit, money

   orders and cashier’s checks received, passbooks, bank checks, safe deposit box keys,

   vault keys, safes and other items evidencing the obtaining, secreting and/or

   concealment, and or expenditures of money.

11. Any and all financial or other instruments evidencing placement of assets in the names

   other than the names of the drug traffickers themselves.

12. Books, records, receipts, diaries, notes, ledgers, airline tickets, cashier’s checks, money

   orders and other papers relating to the transportation, ordering, sale and distribution of

   controlled substances and the outstanding debts and collections from controlled

   substances that have been distributed.

13. Photographs or videos of the drug traffickers, their co-conspirators and the property

   and assets purchased with drug proceeds.

14. Other financial records, which may include airline ticket receipts, credit card receipts,

   rental car receipts and luggage tags reflecting points of travel.


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       15. Firearms and ammunition, including but not limited to handguns, rifles, shotguns and

           automatic weapons.

       16. Digital video surveillance systems, including the associated storage media.

       17. Any and all computers, digital media, and storage media that reasonably appear to

           contain some or all of the records, information, and/or evidence described in

           Attachment B.

       As used above, the terms “records” and “information” includes all forms of creation or

storage, including any form of computer, digital media, or storage media; any handmade form

(such as writing); any mechanical form (such as printing or typing); and any photographic form

(such as microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or

photocopies).

       The term “digital media” includes personal digital assistants (PDAs), smartphones, tablets,

BlackBerry devices, iPhones, iPods, iPads, digital cameras, and cellular telephones.

       The term “storage media” includes any physical object upon which electronic data can be

recorded, such as hard disks, RAM, floppy disks, flash memory, CD-ROMs, and other magnetic

or optical media or digital medium.

       The term “computer” includes all types of electronic, magnetic, optical, electrochemical,

or other high speed data processing devices performing logical, arithmetic, or storage functions,

including desktop computers, notebook computers, mobile phones, smartphones, tablets, server

computers, and network hardware.

       This warrant authorizes a review of all electronic media seized pursuant to this warrant in

order to locate evidence, fruits, and instrumentalities described in this warrant. The warrant also

authorizes a review of all electronic media for evidence of who used, owned, or controlled the
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electronic media at the time the things described in this warrant were created, edited, or deleted.

The review of this electronic data may be conducted by any government personnel assisting in the

investigation, who may include, in addition to law enforcement officers and agents, attorneys for

the government, attorney support staff, and technical experts. Pursuant to this warrant, law

enforcement may deliver a complete copy of the seized or copied electronic data to the custody

and control of attorneys for the government and their support staff for their independent review.

       During the execution of the search of the PREMISES described in Attachment A, law

enforcement personnel are authorized to (1) press or swipe the fingers (including thumbs) of any

individual who is found at the PREMISES and reasonably believed by law enforcement to be a

user of a device found at the premises, to the fingerprint scanner of the device; (2) hold a device

found at the premises in front of the face those same individuals and activate the facial recognition

feature, for the purpose of attempting to unlock the device in order to search the contents as

authorized by this warrant.




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